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                 EXHIBIT A
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                                        CERTIFICATION OF
                               SECURITIES CLASS ACTION COMPLAINT

         1.      I, Henry Rodriguez, make this declaration pursuant to § 27(a)(2) of the Securities Act
of 1933 (“Securities Act”) and/or § 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”)
as amended by the Private Securities Litigation Reform Act of 1995.
         2.      I have reviewed the complaint filed herein (the “Complaint”) against Dfinity USA
Research LLC, Dfinity Foundation, and Dominic Williams (together, “Dfinity” or the “Company”),
and have authorized the filing of a similar complaint, and the motion to which this certification is
attached, on my behalf. Pursuant to Local Civil Rule 23-1(c), I adopt the allegations set forth in the
Complaint.
         3.      I did not purchase or acquire these securities at the direction of counsel or in order to
participate in any private action arising under the Securities Act or the Exchange Act.
         4.      I am willing to serve as a representative party on behalf of the class of investors who
purchased or acquired ICP Tokens during the class period (the “Class”), including providing testimony
at deposition and trial, if necessary. I understand that the Court has the authority to select the most
adequate lead plaintiff in this action.
         5.      To the best of my knowledge, the attached sheet (Schedule “A”) lists all my
transactions in ICP Tokens during the Class Period, as specified in the Complaint.
         6.      During the three-year period preceding the date of this Certification, I have not sought to
serve, nor have I served, as a representative party on behalf of a class in any private action arising under
the Securities Act or the Exchange Act.
         7.      I agree not to accept any payment for serving as a representative party on behalf of the
Class beyond my pro rata share of any possible recovery, except for an award, as ordered by the Court,
for reasonable costs and expenses (including lost wages) directly relating to my representation of the
Class.
         8.      I understand that executing this Certification is not a prerequisite to participation in this
Class Action as members of the Class.


         I declare under penalty of perjury that the foregoing is true and correct. Executed this day

         of _________________.
            10/12/2021




                                                                                H Ll
                                                                             _______________________
                                                                             Henry Rodriguez (Oct 12, 2021 13:30 EDT)




                                                                             Henry Rodriguez
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                              Schedule A
              Henry Rodriguez Transactions in ICP Tokens

          Trade         Transaction                  Price per
          Date          Type              Quantity   Token
             5/18/21    BUY               359.805385    $162.67
             5/26/21    SELL              359.805385    $141.76
             5/28/21    BUY                359.41606    $115.54
             5/29/21    SELL               359.41606    $109.81
              6/2/21    BUY               227.357545    $108.34
              6/5/21    BUY                89.537668    $103.41
              6/8/21    BUY               114.327392     $86.18
             6/10/21    BUY               251.859559     $73.73
             6/11/21    BUY               582.068393     $66.21
             6/26/21    BUY               305.778698     $29.00
              7/8/21    BUY               119.949736     $41.07
             7/10/21    SELL              131.297349     $38.10
             7/12/21    BUY               132.817476     $37.09
             7/16/21    SELL              1692.39912     $33.61
             7/16/21    BUY               1692.39912     $33.61
             7/16/21    SELL              1692.39912     $33.64
             7/16/21    BUY               1692.39912     $33.64
             7/16/21    SELL              1692.39912     $33.65
             7/16/21    BUY               1692.39912     $33.65
             7/16/21    SELL              1692.39912     $32.78
             7/16/21    BUY               1692.39918     $32.29
             7/17/21    SELL              924.129008     $32.46
             7/17/21    SELL              767.962018     $32.44
              9/7/21    BUY               162.898256     $60.49
             9/20/21    BUY               102.217292     $48.20
             9/28/21    SELL               23.759177     $42.09
             10/2/21    BUY                71.180257     $51.48
             10/2/21    BUY                90.497367     $51.60
             10/2/21    BUY                134.18906     $51.85
             10/7/21    SELL              198.402857     $50.40




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